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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       :
    JILL STEIN, et al.,                                :
                                                       :   CIVIL ACTION
                                                       :
                                  Plaintiffs,
                                                       :
                          v.                           :   No. 16-cv-6287(PD)
    KATHY BOOCKVAR, in her official capacity           :
    as Secretary of the Commonwealth, and              :
    JONATHAN MARKS, in his official capacity           :
    as Commissioner of the Bureau of                   :
    Commissions, Elections and Legislation,            :
                                                       :
                                  Defendants.          :
                                                       :
                                                       :

        DEFENDANTS’ AND INTERVENORS’ RESPONSE TO CORRECT CERTAIN
              ERRORS IN PLAINTIFFS’ POST-HEARING SUBMISSIONS

          The purpose of proposed findings of fact is to organize, interpret, and summarize the

evidence of record; it is not to rewrite the testimony or invent “evidence” that was not presented

at the hearing. In their Proposed Findings of Fact (“Pls. FoF”), however, Plaintiffs have taken

liberties with the record that go beyond zealous advocacy. Similarly, Plaintiffs have misstated

elements of the law in their Proposed Conclusions of Law (“Pls. CoL”) (ECF 180). Defendants

and Intervenors (together, “Defendants”) submit this limited Response to address some of

Plaintiffs’ most egregious misstatements.

I.        PLAINTIFFS’ MISSTATEMENTS OF FACT

          The misstatements listed here are either directly at odds with the record or materially

misleading: 1




1
 Defendants do not attempt to address all their disagreements with Plaintiffs’ submissions here;
instead, they rely on their Proposed Findings of Fact (“Defs. FoF”) and brief (ECF 182).
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        1.     “In [the] original certification of the XL … [the Secretary] referred
repeatedly to the [paper record produced by the ExpressVote XL] as a ‘vote summary
card’ … In contrast, the Secretary refers to [a piece of paper with contest options] as a
‘ballot’ or ‘paper ballot.’” (Pls. FoF ¶¶ 14-15.)

       Plaintiffs fail to acknowledge that the “original certification of the XL” also expressly

referred to the ExpressVote XL’s paper record, as well as the identical paper records of the

ExpressVote 2.1, as “paper ballots.” (See, e.g., JX 34 at 31, 32, Attachment B at 19.)



      2.     “[T]here is no evidence that Plaintiffs or Plaintiffs’ counsel ever called the
paper [record] produced by an XL a ballot or a paper ballot.” (Pls. FoF ¶ 30.)

       That is flatly untrue. Plaintiffs’ counsel’s October 9, 2018 email, sent two days before

the settlement conference, included language from Plaintiffs’ expert referring to the paper

records produced by the ExpressVote XL and the ExpressVote 2.1 as “ballots” and “paper

ballots.” (See JX 20.)



       3.     “As even [Secretary of the Commonwealth] Boockvar admitted, ‘you can
have a voter verifiable record of a vote that is not a paper ballot.’” (Pls. FoF ¶ 49.)

       In fact, Plaintiffs’ counsel said these words, not the Secretary. The Secretary responded

by saying only “presumably.” (2/18/20 Tr. 15:17-20.) Contrary to Plaintiffs’ misleading

presentation, the Secretary never suggested – and certainly never admitted – that voter-verifiable

paper records of a vote (including the XL’s paper records) would not be paper ballots.




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       4.     Plaintiffs assert that Defendants’ “only apparent response” to Plaintiffs’
contention that the ExpressVote XL violates the Settlement Agreement because it tabulates
votes by scanning barcodes printed on the paper records, “is that, even though the XL does
not produce a voter-verifiable record of each vote, neither do other voting systems.” (Pls.
FOF ¶ 77.)

       This assertion is manifestly false. Defendants did show that, during the settlement

negotiations, Plaintiffs knew that the Department was considering other systems that used

human-inscrutable coding to tabulate the votes, but Plaintiffs did not object. (See Defs. FOF

¶¶ 103-104, 107.) This fact supports Defendants’ interpretation of the Settlement Agreement,

but it is far from Defendants’ “only response,” “apparent” or otherwise, to Plaintiffs’ “barcodes”

argument. First, Defendants showed, through extensive evidence and argument, that the

ExpressVote XL does, in fact, produce a voter-verifiable record of each vote. (See, e.g., ECF

123, at 20-21; 2/18/20 Tr. 233:7-234:2 (Gates); DX F at 42-43; Defs. FoF ¶¶ 152-161.) Second,

Defendants showed that Plaintiffs themselves knew during the settlement negotiations that the

ExpressVote XL – as well as the ExpressVote 2.1 – tabulated the vote by scanning barcodes

printed on its paper ballots, yet Plaintiffs never objected to that fact at any point before July 29,

2019. (See Defs. FoF ¶¶ 89, 105, 195.)



        5.      “[Dean] Baumert [of Elections Systems and Software] acknowledges that
both ‘hardware malfunction’ and ‘software malfunction’ happen notwithstanding ES&S’s
‘best efforts.’” (Pls. FoF ¶ 97.)

       In fact, Mr. Baumert testified that software and hardware malfunctions “can happen.”

(2/19/20 Tr. 262:4-12 (Baumert) (emphasis added); see also id. at 262:21-24 (answering question

whether “all election systems … have vulnerabilities” by stating that “all election systems could

have vulnerabilities” (emphasis added)).) This is an important distinction because Plaintiffs

were unable to establish that any of the highly theoretical vulnerabilities they posited were

anything more than “spectral fears” (ECF 55, at 30).


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         6.     The Secretary’s counsel “forwarded a ‘voting system and electronic poll
book report,’ that was inaccurate and misleading in multiple respects” because it included
a list of “suites” of voting systems that did not enumerate the “actual voting systems … in
[each] suite.” (Pls. FoF ¶ 121.)

       The assertion that the status report was “inaccurate and misleading” is spurious.

Plaintiffs knew that the report listed “suites” or “systems,” not each suite’s individual

components, and that information about the particular components in each suite was available on

the websites of the manufacturers and the Election Assistance Commission (“EAC”). (See, e.g.,

JX 20.) Indeed, the status report itself provided a link to the portion of the EAC’s website

containing this information. (JX 12, at 1; 2/19/20 Tr. 311:13-17, 312:10-18 (Kotula).)

Inexplicably, Plaintiffs’ expert was unable to say at the hearing whether he had, in fact, consulted

these resources at any point during the settlement negotiations. (2/19/20 Tr. 88:8-89:10, 95:13-

17, 100:10-19 (Halderman).) In any event, the evidence indicates that Plaintiffs were, in fact,

aware of the components of the suites listed in the Department’s status report. (See, e.g., JX 20

(statement by Plaintiffs’ counsel that the “Hart Intercivic Verity Voting [suite] includes the

Verity Touch”).)



        7.      The Department of State’s Kathleen Kotula “admitted” that “Defendants
failed to invite Plaintiffs’ designee to observe the certification process of the XL, as
required under the [Settlement] Agreement.” (Pls. FoF ¶ 134.)

       That is plainly false. The Settlement Agreement states that Defendants are required only

to “ensure that the Plaintiffs are made aware of all currently scheduled, and future scheduled,

Commonwealth on-site certification testing for Voting Systems.” (JX 30 (emphasis added).)

The agreement was signed and took effect on November 28, 2018, months after the certification

examinations of the ExpressVote XL. (See Defs. FoF ¶ 212; JX 34.)




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        8.   Kathleen Kotula “invented excuse[s]” for the time it took the Department to
produce video of the examination of the ES&S voting systems to Plaintiffs. (Pls. FoF
¶ 145.)

       This is an outrageous and completely unfounded accusation. No evidence suggested that

Ms. Kotula’s explanation of the timeline for producing the videos was anything other than

genuine and entirely accurate. (See 2/18/20 Tr. 266:14-267:19, 279:4-281:3 (Kotula).) Indeed,

Ms. Kotula’s testimony is uncontroverted.



      9.      Plaintiffs’ expert, Dr. Halderman, “did not learn about key features of the
XL until he saw the [testing] videos [in July 2019], or later.” (Pls. FoF ¶ 165.)

       Plaintiffs do not provide any citation for this assertion, and it is not supported by the

record. Certainly, if Dr. Halderman had learned about any of the XL features at issue from the

examination videos, Plaintiffs would undoubtedly have provided testimony to that effect; they

did not. Further, the record makes clear that Plaintiffs, including their expert consultant, Dr.

Halderman, knew about the features of the XL that are central to their motion before the

Settlement Agreement was signed. (See Defs. FoF ¶¶ 96-114.)



       10.     Plaintiffs’ expert, Dr. Halderman, “did not learn about [the printhead] issue
until he received the testing videos.” (Pls. FoF ¶ 166.)

       In support of this assertion, Plaintiffs cite only Dr. Halderman’s testimony, on direct

examination, that he had earlier heard only that the alleged “printhead issue” “had been a

complaint about other manufacturers’ systems,” i.e., the systems of manufacturers other than

ES&S. (Pls. FoF ¶ 166; 2/19/20 Tr. 36:14-19.) Inexplicably, Plaintiffs fail to acknowledge any

of Dr. Halderman’s testimony on cross-examination, which unmistakably showed that the

testimony cited by Plaintiffs was wrong. On cross-examination, Dr. Halderman admitted that his

mentor, Dr. Appel, had publicized, in two articles published in October 2018, that the “printhead


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issue” was applicable to the “ES&S … ExpressVote all-in-one.” (DX II (emphasis added);

accord DX L; see 2/19/20 Tr. 153:19-154:5, 155:4-161:9.) Dr. Halderman further admitted that

he was aware of both of these articles at or around the time of their publication. (2/19/20 Tr.

161:11-19.)



       11.     “It is undisputed that ES&S bears the financial consequences of
decertification.” (Pls. CoL 19; see Pls. FoF ¶¶ 92, 187.)

       This assertion is far from “undisputed.” Plaintiffs did not present any evidence on this

point as to two of the three Pennsylvania counties that have purchased the ExpressVote XL.

With respect to Philadelphia County, at most the evidence shows that there would be a contract

dispute between ES&S and Philadelphia as to indemnity if the Court grants the relief Plaintiffs

seek, with no certainty as to when or how that dispute would be resolved. (2/19/20 Tr. 322:19-

20 (Court’s comment that there would likely be litigation over the question of indemnification);

id. at 335:22-336:14 (Nesmith-Joyner).)



II.    PLAINTIFFS’ MISSTATEMENTS OF LAW

       Plaintiffs also misstate the law with respect to at least two significant issues.

       A.      Plaintiffs’ Request for Relief Is Subject to the Equitable Standards
               Governing Injunctions

       Plaintiffs contend that the Court should not consider equitable factors such as the balance

of hardships and the public interest (see generally ECF 123, at 35-37) because “[a]n order

directing a contracting party to specifically perform its obligations under a settlement agreement

is not a permanent injunction and the legal standard for issuing a permanent injunction does not

apply.” (Pls. COL at 2.) The sole authority Plaintiffs cite for this proposition is Saber v.

FinanceAmerica Credit Corp., 843 F.2d 697 (3d Cir. 1988), which opined that an order for


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specific performance is not an injunction appealable under 28 U.S.C. § 1292(a)(1). See id. at

702.

        As an initial matter, Plaintiffs misstate the date of the Saber opinion; it was issued in

1988, not “1998.” (See Pls. COL at 3.) That is significant because subsequent Third Circuit

decisions make clear that the proposition Plaintiffs purport to extract from Saber is an incorrect

statement of the law. The very next year, in Cohen v. Board of Trustees of the University of

Medicine and Dentistry of New Jersey, 867 F.2d 1455 (3d Cir. 1989), the Third Circuit expressly

rejected and overruled that proposition. See id. at 1468 (“[T]o the extent that [earlier Third

Circuit case law] suggests that an order granting specific performance of a contract, a form of

relief sought by the claimant, can be enforced pendent lite by contempt, but is not appealable

under section 1292(a)(1), we expressly disapprove that suggestion, and hereby overrule it.”). As

the Cohen court pointed out, “specific enforcement of contractual undertakings by an order

against the person has [long] been regarded as a classic form of equitable relief. It is a form of

relief available under Fed. R. Civ. P. 65(a), and if it is granted the order falls within section

1292(a)(1).” Id. (emphasis added). This holding is consistent with other decisions recognizing

that orders granting specific performance are subject to well-settled principles of equity such as

the ones invoked by Defendants here. See Texas v. New Mexico, 482 U.S. 124 (1987) (“Specific

performance is never demandable as a matter of absolute right, but as one which rests entirely in

judicial discretion, to be exercised, it is true, according to the settled principles of equity, but not

arbitrarily and capriciously, and always with reference to the facts of the particular case. Specific

performance will not be compelled if under all the circumstances it would be inequitable to do

so.” (internal quotation marks and citation omitted) (emphasis added)); accord Petry v.




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Tanglwood Lakes, Inc., 522 A.2d 1053, 1056-57 (Pa. 1987) (specific performance orders can be

entered only after “weighing of the equities”).

               B.      Federalism Concerns Militate Against Granting the Relief Plaintiffs
                       Seek

       Plaintiffs cite Berne Corp. v. Government of Virgin Islands, 105 F. App’x 324 (3d Cir.

2004), for the proposition that “[n]o federalism concerns are present here.” (Pls. COL at 3.) But

Berne is plainly not on point. As its title suggests, no federalism issues were implicated in Berne

because that case involved not a state but rather a federal territory. The question in Berne was

instead whether the separation-of-powers doctrine barred federal courts from issuing a specific

performance order against the Government of the Virgin Islands. See id. at 328-29. Defendants,

by contrast, are not arguing that the Court lacks jurisdiction to enter a specific-performance

order. Rather, Defendants have cited case law showing that, where a grant of mandatory

permanent injunctive relief by a federal court would threaten to undermine a state’s ability to

administer its election process – as the relief sought by Plaintiffs here would do, particularly if

granted on the timeline Plaintiffs demand – principles of federalism weigh strongly in favor of

denying the injunction. (See ECF 123, at 37-38 (citing cases).) Plaintiffs have failed to cite any

contrary authority.




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III.     CONCLUSION

         Defendants respectfully request that the Court deny Plaintiffs’ Motion.



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